                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                         Case No. 1:15-cv-00109-MR
    SANDRA M. PETERS, on behalf of )
    herself and all others similarly
                                   )
    situated,                      )
                                   )
                        PLAINTIFF, )
    v.                             )                CONSENT MOTION FOR
                                   )                 EXTENSION OF TIME
    AETNA INC., AETNA LIFE         )
    INSURANCE COMPANY, and         )
    OPTUMHEALTH CARE SOLUTIONS, )
    INC.,                          )
                                   )
                    DEFENDANTS. )
                                   )


         In accordance with Local Rule of Civil Procedure 7.1, Plaintiff Sandra M.

Peters moves the Court for an order extending the time for Plaintiff to file her

supplemental brief regarding class certification from August 16, 2021 to

September 1, 2021, Defendants to file their response from August 30, 2021 to

October 1, 2021, and for Plaintiff to file a reply brief on October 15, 2021.

Defendants Aetna Inc. and Aetna Life Insurance Company (“Aetna”) and

OptumHealth Care Solutions, Inc. (“Optum”) do not oppose this request.

         Good cause1 justifies these brief extensions for the following reasons:




1
 See Tyndall v. Maynor, 288 F.R.D. 103, 108 (M.D.N.C. 2013) (ruling that the
“touchstone” of good cause is diligence).


          Case 1:15-cv-00109-MR Document 255 Filed 08/04/21 Page 1 of 5
      1.      On August 2, 2021, the Court issued an order (“Order”) that following

remand from the United States Court of Appeals for the Fourth Circuit, Plaintiff

shall file a supplemental brief regarding class certification within fourteen (14)

days of the Order, and that Defendants shall have fourteen (14) days thereafter to

file a response. (Doc. #254.)

      2.       Plaintiff seeks an extension because her filing will take significant

time. The ERISA issues and class issues implicated in this case require complex

analysis. Furthermore, the record in this case contains thousands of pages, and the

Fourth Circuit’s opinion that will guide the parties’ supplemental briefing is 71

pages long.

      3.      Additionally, the deadline set by the Court for supplemental briefing

falls within the summer month of August, during which time Plaintiff’s counsel

has travel plans and family obligations. Plaintiff’s counsel also has a number of

previously-scheduled professional obligations between now and August 16, 2021

in other cases for which they are responsible, including a hearing on August 11 that

requires time-consuming preparation.

      4.      Thus, absent the requested extension, Plaintiff’s counsel will not have

the time necessary to prepare supplemental briefing to the extent Plaintiff expects

and deserves. Plaintiff submits that in fairness, she should be granted thirty (30)




                                          2
        Case 1:15-cv-00109-MR Document 255 Filed 08/04/21 Page 2 of 5
days instead of two weeks for the preparation of her supplemental brief regarding

class certification.

       5.      Under LCvR 7.1(b), Plaintiff conferred with Defendants regarding

whether they consented to this extension. Both Defendants consented. Defendants

did not take a position on Plaintiff’s requested deadline for a reply brief. However,

such a reply brief is appropriate, as Plaintiffs are entitled to have the last word in

support of their class certification motion and, otherwise, Plaintiffs will not be able

to respond to how Defendants may characterize the Fourth Circuit decision.

Defendants also advised that if Plaintiff’s extension request is granted, they request

a corresponding thirty-day extension for their response brief. Plaintiff does not

oppose Defendants’ request.

       6.      Finally, because no other deadlines have been set following

supplemental class certification briefing, the requested extensions will neither

delay the resolution of this case nor require any corresponding modification to any

other dates.

       Accordingly, the parties request that the Court grant the following brief

extensions in filing supplemental class certification briefing:

Task                          Current Deadline             Proposed New Deadline
Plaintiff’s Supplemental      August 16, 2021              September 1, 2021
Brief Regarding Class
Certification
Defendants’ Response          August 30, 2021              October 1, 2021
Plaintiff’s Reply             N/A                          October 15, 2021

                                          3
         Case 1:15-cv-00109-MR Document 255 Filed 08/04/21 Page 3 of 5
Dated: August 4, 2021

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                                     4
       Case 1:15-cv-00109-MR Document 255 Filed 08/04/21 Page 4 of 5
                       CERTIFICATE OF SERVICE

I certify that on August 4, 2021, I filed and served a copy of the JOINT MOTION
FOR EXTENSION OF TIME using the CM/ECF system, which will give notice
to counsel of record.


                                    /s/ Larry McDevitt
                                    Larry McDevitt




                                       5
       Case 1:15-cv-00109-MR Document 255 Filed 08/04/21 Page 5 of 5
